                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


 In re                                                      Chapter 11

 BIG LOTS, INC., et al., 1                                  Case No. 24-11967 (JKS)

                                Debtors.                    (Jointly Administered)



         NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that, pursuant to Section 1109(b) of Title 11 of the United

States Code, 11 U.S.C. §§ 101, et seq. (the “Bankruptcy Code”) and Rules 2002 and 9010(b) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), K&L Gates LLP hereby

enters its appearance on behalf of Donlen Corporation (“Donlen”) and requests that all notices

given or required to be given and all papers served in this case be delivered to and served upon the

party identified below at the following address:

                                          David S. Catuogno, Esq.
                                             K&L GATES LLP
                                     One Newark Center, Tenth Floor
                                         1085 Raymond Boulevard
                                        Newark, New Jersey 07102
                                       Telephone: (973) 848-4000
                                        Facsimile: (973) 848-4001
                                    Email: David.catuogno@klgates.com




1 The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
employer identification numbers, are as follows: Great Basin, LLC (6158), Big Lots, Inc. (9097); Big Lots
Management, LLC (7948); Consolidated Property Holdings, LLC (0984); Broyhill LLC (7868); Big Lots Stores –
PNS, LLC (5262); Big Lots Stores, LLC (6811); BLBO Tenant, LLC (0552); Big Lots Stores – CSR, LLC (6182);
CSC Distribution LLC (8785); Closeout Distribution, LLC (0309); Durant DC, LLC (2033); AVDC, LLC (3400);
GAFDC LLC (8673); PAFDC LLC (2377); WAFDC, LLC (6163); INFDC, LLC (2820); Big Lots eCommerce LLC
(9612); and Big Lots F&S, LLC (3277). The address of the debtors’ corporate headquarters is 4900 E. Dublin,
Granville Road, Columbus, OH 43081.

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        PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the

Bankruptcy Code, the foregoing demand not only includes notices and papers referred to in the

above-mentioned Bankruptcy Rules, but also includes, without limitation, all notices, orders,

pleadings, motions, applications, complaints, demands, hearings, request, answers, replies,

memoranda and briefs in support of any of the above, whether formal or informal, transmitted or

conveyed by electronic delivery, mail delivery, telephone, facsimile or otherwise, in this case.

        PLEASE TAKE FURTHER NOTICE that this notice of appearance, and any subsequent

appearance, pleading, claim, or suit, is not intended, nor shall be deemed, to waive Donlen’s: (i)

right to contest the subject matter or personal jurisdiction of this Court; (ii) right to seek abstention

or withdrawal of any matter arising in this proceeding; (iii) right to have final orders in non-core

matters entered only after de novo review by a United States District Court Judge; (iv) right to trial

by jury in any proceeding so triable herein or in any case, controversy or proceeding related hereto;

(v) right to have the reference withdrawn by a United States District Court Judge in any matter

subject to mandatory or discretionary withdrawal; (vi) right to enforce any contractual provisions

with respect to arbitration; or (vii) other rights, claims, actions, defenses, setoffs or recoupments

to which Donlen is or may be entitled under agreements, in law, or in equity, all of which rights,

claims, actions, defenses, setoffs, and recoupments expressly are hereby reserved.

        PLEASE TAKE FURTHER NOTICE that this appearance is a limited appearance for

purposes of notice only. Accordingly, this Notice of Appearance is not to be construed as a waiver

of any rights, including, without limitation, the right to contest jurisdiction or service of process

or to demand trial by jury of any issue.




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Dated: October 4, 2024   K&L Gates LLP


                             /s/ David S. Catuogno
                          David S. Catuogno, Esq.
                         (N.J.D.C. No. DSC-1397)
                         (NJ Bar #040511990)
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                         Attorneys for Donlen Corporation




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                                 CERTIFICATE OF SERVICE

        I certify that on October 4, 2024, I caused the attached Notice of Appearance and Demand

for Service of Papers to be electronically filed with the Clerk, United States Bankruptcy Court,

District of Delaware, by ECF and one copy of the aforementioned document by way of first class

mail or ECF to those persons listed on the attached service list.

         I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me is willfully false, I am subject to punishment.

Dated: October 4, 2024
                                                 By: /s/ David S. Catuogno
                                                     David S. Catuogno, Esq.
                                                     David.catuogno@klgates.com




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                                         SERVICE LIST
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